Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 1 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 2 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 3 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 4 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 5 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 6 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 7 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 8 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 9 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 10 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 11 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 12 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 13 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 14 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 15 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 16 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 17 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 18 of 19
Case:16-03855-BKT7 Doc#:58 Filed:08/27/18 Entered:08/27/18 15:36:05   Desc: Main
                          Document Page 19 of 19
